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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

___________________________________________
                                            )
SECURITIES AND EXCHANGE COMMISSION, )
                                            )
                  Plaintiff,                )
                                            )
      v.                                    )                Civil Action No. 19-11676-NMG
                                            )
TANMAYA KABRA, a/k/a TAN KABRA, and         )
LAUNCHBYTE.IO, LLC a/k/a                    )
THE KABRA GROUP, LLC,                       )
                                            )
                  Defendants.               )
                                            )
___________________________________________ )



                                [Proposed]
             FINAL JUDGMENT AS TO DEFENDANT TANMAYA KABRA

       The Securities and Exchange Commission having filed a Complaint and Defendant

Tanmaya Kabra a/k/a Tan Kabra (“Defendant”) having entered a general appearance; consented

to the Court’s jurisdiction over Defendant and the subject matter of this action; consented to

entry of this Final Judgment; waived findings of fact and conclusions of law; and waived any

right to appeal from this Final Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of




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interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements




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               made, in light of the circumstances under which they were made, not misleading;

               or

       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                 III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is liable

for disgorgement of $500,000, representing net profits gained as a result of the conduct alleged

in the Complaint, together with prejudgment interest thereon in the amount of $67,793.46, which

is deemed satisfied by the order of restitution entered in United States v. Kabra, 1:19-cr-10335-

DJC (D. Mass).

                                                 IV.


       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that within 3 days after

being served with a copy of this Final Judgment, First Republic Bank shall transfer the entire

balance of the following First Republic Bank account, which was frozen pursuant to an Order of

this Court, to the Clerk of Court for distribution in accordance with the order of restitution

described in paragraph III above:

             Account Owner                                            Acct. Ending in:



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             Vetx Inc.                                                   ***8984
       First Republic Bank may transfer these funds by cash, check or money order. Checks or

money orders shall be made payable to the “Clerk of the U.S. District Court” noting Criminal

Action No. 19-cr-10335-DJC in the memo section of the payment method. Funds shall be

delivered or mailed to the following address:

                              Clerk’s Office, U.S. District Court,
                              1 Courthouse Way, Suite 2300
                              Boston, MA 02210

and shall be accompanied by a letter identifying: the criminal action title and number, this civil

action title and number, the name of this Court, Tanmaya Kabra as a defendant in this action, and

specifying that payment is made pursuant to this Final Judgment.


                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.


                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

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                                               VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.



Dated: ______________, _____

                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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